Case 4:16-cr-00176-ALM-KPJ Document 246 Filed 01/18/19 Page 1 of 4 PageID #: 2917



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  UNITED STATES OF AMERICA                      §
                                                §
  v.                                            §         No. 4:16CR176
                                                §         Judge Crone
  JAMES MORRIS BALAGIA (3)                      §
   a.k.a. “DWI Dude”                            §

                      MOTION FOR ENTRY OF PROTECTIVE ORDER

          The United States of America, by and through undersigned counsel respectfully

  requests that this Court enter a protective order regarding (1) discovery previously

  provided in this case and for future discovery provided in this matter; (2) for personal

  information; and, (3) for any allegations defense counsel may make regarding any

  potential witness or attorney who represents a co-defendant or witness in this case. As

  grounds for this motion, the United States submits the following:

          1.       The defendant, James Morris Balagia, has been charged with Conspiracy

  to Commit Money Laundering in violation of 18 U.S.C. § 1956(h); Obstruction of Justice

  and Aiding and Abetting, in violation of 18 U.S.C. § 1503 and 2; Conspire, Endeavor,

  and Attempt to Violate the Kingpin Act, in violation of 21 U.S.C. § 1904(c)(2);

  Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. § 1343, and Conspiracy to

  Obstruct Justice, in violation of 18 U.S.C. § 371.




  Motion for Entry of Protective Order
  Page 1
Case 4:16-cr-00176-ALM-KPJ Document 246 Filed 01/18/19 Page 2 of 4 PageID #: 2918



          2.       Pursuant to Standing Discovery Order and Rule 16 of the Federal Rules of

  Criminal Procedure, the United States is obligated to provide discovery to the defendant.

  Some of the discovery in this case involves the disclosure of personal information.

          3.       In order to comply with its discovery obligations, undersigned counsel has

  produced multiple documents to the defendant’s attorneys.

          4.       To protect the rights of confidential sources, innocent third parties and

  personal information, it is requested that the Court direct that the defendant and his

  attorneys and their staff limit disclosure of the discovery provided to themselves and the

  staff of the defendant’s attorneys (legal assistants and other attorneys formally associated

  with the law firm) and not discuss or disclose the contents of said discovered information

  to any other person, without further leave of this Court, and not to further duplicate said

  information. Not limited to this situation, but, as an example, the defendant alleges that a

  co-defendant operated as a confidential informant for law enforcement. Any information

  provided through the discovery process related to anyone possibly working as a

  confidential informant should be filed under seal and not be disseminated beyond the

  defendant’s attorneys as a matter of privacy and public policy.

          5.       Federal Rule of Criminal Procedure 49.1 provides Privacy Protection for

  Filings Made with the Court. The rule notes that the following should not be filed

  publically: an individual's social-security number, taxpayer-identification number, or

  birth date, the name of an individual known to be a minor, a financial-account number, or

  the home address of an individual. As part of this protective order, the government
  Motion for Entry of Protective Order
  Page 2
Case 4:16-cr-00176-ALM-KPJ Document 246 Filed 01/18/19 Page 3 of 4 PageID #: 2919



  requests that the defendant’s attorneys not file or disseminate anything containing the

  type of information covered by Rule 49.1 of the Federal Rules of Criminal Procedure.


          6.       Along with requesting that material provided through the discovery process

  be protected and the material covered by Rule 49.1 be protected, the government requests

  that the protective order require that if defense counsel makes any allegations of

  misconduct regarding any witness or any attorney for any witness or co-defendant, that

  that information be provided to the court under seal. Unsubstantiated allegations

  regarding a witness or attorney for any witness or co-defendant should not be a matter of

  public record.


          7.       Pursuant to the Standing Discovery Order, the United States has disclosed

  to defense counsel documents containing the above information and will continue to do

  so. Accordingly, undersigned counsel requests that this Court enter a protective order

  covering (1) discovery previously provided in this case and for future discovery provided

  in this matter; (2) for personal information; and, (3) for any allegations defense counsel

  may make regarding any potential witness or attorney who represents a co-defendant or

  witness in this case.




  Motion for Entry of Protective Order
  Page 3
Case 4:16-cr-00176-ALM-KPJ Document 246 Filed 01/18/19 Page 4 of 4 PageID #: 2920




                                                      Respectfully submitted,

                                                      JOSEPH D. BROWN
                                                      UNITED STATES ATTORNEY


                                                      _/s/__________________________
                                                      HEATHER RATTAN
                                                      Assistant United States Attorney
                                                      Texas Bar No. 16581050
                                                      101 E. Park Blvd., Suite 500
                                                      Plano, Texas 75074
                                                      (972) 509-1201
                                                      heather.rattan@usdoj.gov

                                         CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Motion for Entry of Protective Order

  has been served on counsel of record for defendant via the court’s CM/ECF system on

  this the 18th day of January, 2018.

                                                      /s/
                                                      Heather Rattan


                                   CERTIFICATE OF CONFERENCE

          I hereby certify that I e-mailed defense counsel Daphne Silverman on December

  17, 2018 and December 18, 2018 and requested a position on the Government’s Motion

  for a Protective Order. To date, there is no response on the request for a position.

  Consequently, the Government will note that the defendant is opposed.

                                                      /s/
                                                      Heather Rattan
  Motion for Entry of Protective Order
  Page 4
